        Case 16-11833-pmm
 Fill in this information to identify the case:
                                                Doc       Filed 02/10/22 Entered 02/10/22 08:29:51                          Desc Main
                                                          Document      Page 1 of 4
B 10 (Supplement 2) (12/11)           (post publication draft)
 Debtor 1              Marcia Samuel
                       __________________________________________________________________

 Debtor 2               ________________________________________________________________
 (Spouse, if filing)

                                          Eastern District of __________
 United States Bankruptcy Court for the: __________           Pennsylvania
 Case number            16-11833
                        ___________________________________________




Official Form 410S2
Notice of Postpetition Mortgage Fees, Expenses, and Charges                                                                                12/15

If the debtor’s plan provides for payment of postpetition contractual installments on your claim secured by a security interest in the
debtor's principal residence, you must use this form to give notice of any fees, expenses, and charges incurred after the bankruptcy
filing that you assert are recoverable against the debtor or against the debtor's principal residence.

File this form as a supplement to your proof of claim. See Bankruptcy Rule 3002.1.

                               Wilmington Savings Fund Society, FSB, as
 Name of creditor: Trustee of Stanwich Mortgage Loan Trust F
                   _______________________________________                                 Court claim no. (if known): 7-2
                                                                                                                       __________________

 Last 4 digits of any number you use to
 identify the debtor’s account:                            2 ____
                                                          ____ 9 ____
                                                                   0 ____
                                                                       6

 Does this notice supplement a prior notice of postpetition fees,
 expenses, and charges?
 x
       No
       Yes. Date of the last notice: _____________


 Part 1:         Itemize Postpetition Fees, Expenses, and Charges

 Itemize the fees, expenses, and charges incurred on the debtor’s mortgage account after the petition was filed. Do not include any
 escrow account disbursements or any amounts previously itemized in a notice filed in this case or ruled on by the bankruptcy court.

      Description                                                        Dates incurred                                          Amount

  1. Late charges                                                        _________________________________                 (1)   $ __________
  2. Non-sufficient funds (NSF) fees                                     _________________________________                 (2)   $ __________
  3. Attorney fees                                                       _________________________________                 (3)   $ __________
  4. Filing fees and court costs                                         _________________________________                 (4)   $ __________
  5. Bankruptcy/Proof of claim fees                                      _________________________________                 (5)   $ __________
  6. Appraisal/Broker’s price opinion fees                               _________________________________                 (6)   $ __________
  7. Property inspection fees                                            _________________________________                 (7)   $ __________
  8. Tax advances (non-escrow)                                           _________________________________                 (8)   $ __________
  9. Insurance advances (non-escrow)                                     _________________________________                 (9)   $ __________
 10. Property preservation expenses. Specify:_______________             each date must be included for each inspection
                                                                         _________________________________                (10)   $ __________
 11. Other.             City/County Renewal Fee
                 Specify:____________________________________            11/23/2021
                                                                         _________________________________                (11)         200.00
                                                                                                                                 $ __________
                   Registration Renewal Fee
 12. Other. Specify:____________________________________                 11/23/2021
                                                                         _________________________________                (12)          40.00
                                                                                                                                 $ __________
 13. Other. Specify:____________________________________                 _________________________________                (13)   $ __________
 14. Other. Specify:____________________________________                 _________________________________                (14)   $ __________


 The debtor or trustee may challenge whether the fees, expenses, and charges you listed are required to be paid.
 See 11 U.S.C. § 1322(b)(5) and Bankruptcy Rule 3002.1.


Official Form 410S2                              Notice of Postpetition Mortgage Fees, Expenses, and Charges                              page 1
      Case 16-11833-pmm                     Doc          Filed 02/10/22 Entered 02/10/22 08:29:51                         Desc Main
                                                         Document      Page 2 of 4

Debtor 1     Marcia     Samuel
             _______________________________________________________
             First Name   Middle Name      Last Name
                                                                                                        16-11833
                                                                                    Case number (if known) _____________________________________




 Part 2:    Sign Here


  The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and
  telephone number.
  Check the appropriate box.

     I am the creditor.
  
  X   I am the creditor’s authorized agent.


  I declare under penalty of perjury that the information provided in this claim is true and correct to the best
  of my knowledge, information, and reasonable belief.



             /s/ Shabrena Lynch-Horton
                 __________________________________________________
                 Signature
                                                                                    Date    02/09/2022
                                                                                            ___________________




 Print:          Shabrena Lynch-Horton
                 _________________________________________________________          Title    Authorized Agent
                                                                                            ___________________________
                 First Name                Middle Name       Last Name



 Company         Liepolid, Harrison & Associates, PLLC
                 _________________________________________________________



 Address         1425 Greenway Drive, Suite 250
                 _________________________________________________________
                 Number           Street
                 Irving,                           TX        75038
                 ___________________________________________________
                 City                                        State       ZIP Code




 Contact phone   800.349.1254
                 _______________________                                            Email PCNInquiries@lha-law.com
                                                                                          ________________________




Official Form 410S2                          Notice of Postpetition Mortgage Fees, Expenses, and Charges                               page 2
        Case 16-11833-pmm             Doc   Filed 02/10/22 Entered 02/10/22 08:29:51           Desc Main
                                            Document      Page 3 of 4

                                            Eastern District of Pennsylvania


       Marcia Samuel                                                           16-11833




                              2/9/2022,


                                                                      Shabrena Lynch-Horton



                                                                c/o Carrington Mortgage Services, LLC
                                                                1425 Greenway Drive, Suite 250
                                                                Irving, TX 75038


Marcia Samuel
246 S Walnut St.
Bath, PA 18014



Mark Matthew Billion
markbillion@billionlaw.com




Scott F. Waterman
ECFMail@ReadingCh13.com




Office of the United States Trustee
USTPRegion03.PH.ECF@usdoj.gov
Invoicing - Invoice Detail                                                                                                                                                            Page 1 of 1
    Case 16-11833-pmm                                        Doc            Filed 02/10/22 Entered 02/10/22 08:29:51                                                               Desc Main
                                                                            Document      Page 4 of 4


                                                                                                                                                       Carrington Mortgage Services, LLC / Laquita Jimerson
                                        Invoice Detail


   Home           eMessages               Process      Reports        Search         Loan Level        Admin         Help   Logoff                               Loan#:                                     Go

                 Approve | Resolve | Route | eMessages | P-Notes | Receipts | Print | Create eMessage | Curtailment Threshold                                                 21 of 26 | << >>

 Vendor                    Mortgage Contracting Services, LLC                           Regarding:                              Invoice Number:                            VPR015052247
 Address:                  4890 West Kennedy Blvd.                                      MARCIA A SAMUEL                         Invoice Status:                            Check Requested
                           Suite 500                                                    246 S WALNUT ST                         Loan No.:
                           Tampa, FL 33609                                              BATH, PA 18014                          Acquisition Date:
 Payee Code:               62171                                                                                                Loan Type:                                 USDA
 Vendor Contact:           Nicole Potts                                                                                         Asset No.:
 Vendor Ref #:             VPR015052247                                                                                         REO Loan Status:                           N/A
 Servicer:                 Carrington Mortgage Services, LLC                                                                    REO Loan Status Date:                      N/A
                                                                                        Investor Loan #:
 Inv. ID / Cat. ID         02365/00002                                                                                          Order Date:                                11/23/2021
 Investor Name:            SMLT 2019-8 FHA/USDA 60+ A                                                                           Completion Date:                           11/23/2021
 Invoice ID:               296734596                                                                                            Loan Location:
 Class Code:                                                                                                                    Submitted Date:                            11/24/2021
 Entity Code:              0                                                                                                    Vendor Invoice Date:                       11/23/2021
 GSE Code:                                                                                                                      Paid In Full Date:                         N/A
 GSE REO Rem.                                                                                                                   Foreclosure Removal Date:                  N/A
 Code:                                                                                                                          MS Status:                                 N/A
 HiType:                                                                                                                        Relief Requested Date:                     N/A
 Litigation Status                                                                                                              Protection Begin Date:                     N/A
 Code:
                                                                                                                                Protection End Date:                       N/A
 Man Code:


 Original Mortgage Amount: $0.00
 Principal Balance as of invoice create date: $159,718.47
 Principal Balance as of today's date: $158,839.03
                                                                         Property Pres. - Property Preservation Services

        Submitted                 1st Reviewed            Last Reviewed               Accepted                 Approved                 Chk Requested           Chk Confirmed                Days To Proc
        11/24/2021                  12/01/2021              02/01/2022                                         12/01/2021                 12/01/2021                                                8

 Dept     Comments        Line Items      Exceptions   Edit Summary    Adj. Summary      Chronology    Quote     Service Request    Guideline     Invoice Mapping      History    Payments      Reconciliation


    Costs        Total:                    $240.00         Invoicing Prev. Billed:       $340.00 Exc. Loan Allow:                                                                    Exc Ord Allw:
                                                                                                  Exc. Loan Total Fees/Costs Allow:
    Totals       Inv Amt:               $240.00                    Prev. Billed:        $340.00 Loan Total Fees/Costs Prev.Billed:                           $340.00                 Exc Ord Allw:


  Costs
                                                                                                          Aff.
     A       B   I    C Category                        Subcategory                               W/H               Date           Qty               Price    Orig. Billed           Adjust                 Net
                                                                                                          Ind.
                                                         Vacant Property Registration
     A                 C       Property Services                                                                     11/23/21       1             $200.00           $200.00             $0.00            $200.00
                                                         City/County Fee
                     Note: Vacant Property Registration City/County Fee - Renewal
     A                 C       Property Services         Vacant Property Registration Fee                            11/23/21       1               $40.00           $40.00             $0.00             $40.00
                     Note: Vacant Property Registration Fee - Renewal
                                                                                                                                             Total:                  $240.00            $0.00           $240.00
                                                                                                                                           Invoice Total:           $240.00             $0.00           $240.00




https://im.lpsdesktop.com/Public/NewInvoiceWeb/InvoiceDetail.aspx?__ShowNextItem=Y                                                                                                                2/1/2022
